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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §              CASE NO. 4:09-cr-194
                                                 §              Judge Crone
JOHN FREDDY CORREA (2)                           §

               MEMORANDUM ADOPTING REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
       Came on for consideration the report of the United States Magistrate Judge in this action, this

matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

§ 636. On September 23, 2011, the report of the Magistrate Judge was entered containing proposed

findings of fact and recommendations that Defendant’s Motion to Dismiss Indictment (Dkt. #388)

and Motion for Severance (Dkt. #387) should be denied.

       The Court, having made a de novo review of Defendant's objections, is of the opinion that

the findings and conclusions of the Magistrate Judge are correct, and the objections are without

merit. Therefore, the Court hereby adopts the findings and conclusions of the Magistrate Judge as

the findings and conclusions of this Court. It is accordingly

       ORDERED that Defendant’s Motion to Dismiss Indictment (Dkt. #388) and Motion for
       . (Dkt. #387) are DENIED.
Severance
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
       SIGNED at Beaumont, Texas, this 30th day of September, 2011.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
